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                                                                                                           Rev. /2018


                   UNITED STATES DISTRICT AND BANKRUPTCY COURTS
                            FOR THE DISTRICT OF COLUMBIA

Cynthia Warmbier, et al.,

_________________________________________
                        Plaintiff(s)

       vs.                                                         Civil Action No.: 1:18-cv-00977 (BAH)
Democratic People's Republic of Korea

_________________________________________
                        Defendant(s)


                             AFFIDAVIT REQUESTING FOREIGN MAILING

       I, the undersigned, counsel of record for plaintiff(s), hereby request that the Clerk mail a copy of the
default judgment
summons    and complaint (and notice of suit,
                                           where applicable) to (list name(s) and address(es) of defendants):
DEMOCRATIC PEOPLE'S REPUBLIC OF KOREA
Ri Yong Ho, Minister of Foreign Affairs
Head of Ministry of Foreign Affairs
Jungsong-Dong, Central District,
Pyongyang, Democratic People's Republic of Korea


by: (check one)                ެ      FHUWLILHGRUregistered mail, return receipt requested
                               ެ✔
                                      DHL
                               ެ      Fed Ex
pursuant to the provisions of: (check one)
                               ެ      FRCP 4(f)(2)(C)(ii)
                               ެ✔     28 U.S.C. § 1608(a)(3)
                               ެ      28 U.S.C. § 1608(b)(3)(B)
                               ެ      28 U.S.C. § 1608(a)(4)

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 See ECF No. 8-1                                                             , and that I obtained this information
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                                                                       /s/ Benjamin L. Hatch
                                                                             (Signature)
                                                            McGuireWoods LLP
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                                                            101 W. Main St.
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                                                            (757) 640-3727
                                                                         (Name and Address)
